
In re Reviere, Huey;- — Defendant; Applying for Supervisory and/or Remedial Writs, Parish of Jefferson Davis, 31st Judicial District Court, Div. O, Nos. CR703-88, 4112-88; to the Court of Appeal, Third Circuit, No. 99 01249
Writ granted; original consecutive sentences of 21 years imprisonment are hard labor and 10 years imprisonment at hard labor without benefit of parole, probation, or suspension of sentence reinstated. The district court lacked authority to amend relator’s hard labor sentences after he had begun to serve them. La.C.Cr.P. art. 881(A); La.C.Cr.P. art. 881(C); R.S. 15:566.2; State v. Branch, 96-1626, pp. 5-9 (La.App. 3rd Cir.5/21/97), 696 So.2d 81, 83-85; see also State v. Gedric, 99-1213 (La.App. 1st Cir.6/3/99), 741 So.2d 849, writ denied, 99-1830 (La.11/5/99), 751 So.2d 239. In addition, because the district court’s judgment did not constitute a sentencing, see La.C.Cr.P. art. 871(A), the procedural requirements of La.C.Cr.P. art. 881.1 do not bar review; see also La. C.Cr.P. art. 881.2(B).
VICTORY, J., not on panel.
